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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In Re:                                           Case No. 16-17789

 Ronald Maloney
                                                  Chapter 13
 Pamela Maloney

 Debtors.                                         Hon. Judge Carol A. Doyle

                                  CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Response to Notice
of Final Cure Payment upon the above-named parties by electronic filing or, as noted below, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on November
10, 2021, before the hour of 5:00 p.m.

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Dated: November 10, 2021                    Respectfully Submitted,

                                            /s/ Molly Slutsky Simons
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